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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

UNITED STATES OF AMERICA
                                                  §
                                                  §
v.                                                § CASE NUMBER 4:25MJ118
                                                  §
                                                  §
NATHAN TAYLOR (1)                                 §


                                           ORDER


       The Defendant s initial appearance was held on April 25, 2025. Pursuant to Federal Rule

of Criminal Procedure 5.1, the court conducted a preliminary hearing on April 25, 2025.

Defendant executed a waiver at hearing. Based on the signed waiver, the court finds that there is

probable cause to believe that an offense has been committed and that Defendant, NATHAN

TAYLOR, should be held over to answer to the grand jury.

       IT IS SO ORDERED

       Signed April 25, 2025.



                                                      M /
                                                      AILEEN GOLDMAN DURRETT
                                                      UNITED STATES MAGISTRATE JUDGE
